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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

 JAMES CODY, et al.,                          )
                                              )
        Plaintiffs,                           )
                                              )
 v.                                                Cause No. 4:17-CV-2707
                                              )
 CITY OF ST. LOUIS,                           )
                                              )
        Defendant.                            )

         MOTION TO PARTIALLY QUASH SUBPOENA DUCES TECUM,
                 ON BEHALF OF CORIZON HEALTH, INC.

        COMES NOW Corizon Health, Inc. (hereinafter “Corizon”), a nonparty to this

 cause of action, and, for its Motion to Partially Quash Subpoena Duces Tecum

 (hereinafter “Subpoena”), states as follows:

        1.      Corizon, a nonparty, is under contract with the City of St. Louis to provide

 medical care and treatment (including mental and dental care) to inmates confined to the

 St. Louis City Jails, consisting of St. Louis City Justice Center and Medium Security

 Institution (hereinafter “MSI”).

        2.      Plaintiffs have filed this cause of action against the City of St. Louis, in

 which they allege various “inhumane conditions” inside MSI. (Document 1, ¶ 1.)

        3.      Plaintiffs have served Corizon with a Subpoena seeking various

 documents. (Exhibit A, attached hereto.)

        4.      The documents sought by Plaintiffs in Paragraphs 8-15, 17, 18, and 20 of

 their Subpoena seek disclosure of medical information of inmates other than that of

 Plaintiffs, which is confidential and protected information pursuant to HIPAA
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 regulations. Therefore, pursuant to Rule 45(d)(3)(A)(iii) FRCP, Plaintiff’s Subpoena

 should be quashed in part with respect to said Paragraphs.

        5.      Further, to retrieve the documents sought by Plaintiffs in ¶¶ 1, 8, 10-14,

 and 20 would subject Corizon to undue burden and expense. Therefore, pursuant to

 Rules 45(d)(3)(A)(iv) and 26(b)(1) FRCP, Plaintiffs’ Subpoena should be quashed in part

 with respect to said Paragraphs.

        WHEREFORE, based upon the above facts, reasons, and authority, and as more

 fully set forth in Corizon’s Suggestions in Support filed simultaneously herewith,

 Corizon prays that this honorable Court quash Plaintiffs’ Subpoena in part with respect to

 Paragraphs 1, 8-15, 17, 18, and 20, and for any further relief this Court deems just and

 proper under the circumstances presented herein.

                                              Respectfully submitted,

                                              /s/ J. Thaddeus Eckenrode
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                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was electronically filed and
 served on this 1st day of August, 2018 to the following:

 Mr. Nathaniel R. Carroll
 Arch City Defenders
 440 North 4th Street, 3rd Floor
 St. Louis, MO 63013
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                                              /s/ Lori Carter




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